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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO


ERIC COOMER, Ph.D.,
      Plaintiff

v.
                                           Civil Action No. 1:22-cv-01129-NYW-SKC

MICHAEL J. LINDELL, FRANKSPEECH LLC,
AND MY PILLOW, INC.,
     Defendants


 DEFENDANTS’ MICHAEL LINDELL, MY PILLOW, AND FRANKSPEECH’S
  UNOPPOSED SECOND MOTION FOR LEAVE TO AMEND EXHIBIT LIST


TO THE HONORABLE JUDGE OF THIS COURT:

       Defendants Michael J. Lindell, My Pillow, Inc., and Frankspeech LLC (collectively,

Defendants), by and through counsel, respectfully seek leave to add additional exhibits

on the dates set forth in the Court’s text only order (Doc. 332).

                         STATEMENT REGARDING CONFERRAL

       Counsel for the Defendants conferred with counsel for the Plaintiff on May 8, 2025

and May 9, 2025 about including a few exhibits relating to the exhibits that the Plaintiff

sought to add. Counsel for Defendants requested the parties jointly file their motion for

leave in light of the length and scope of the Plaintiff’s additional exhibits, but counsel for

the Plaintiff preferred to file their cross motion (Doc. 330) prior to today without a joint

filing. Defendants needed time to review the new exhibits and assess which exhibits to

supplement. Counsel for the Plaintiff stated they did not oppose the Defendants motion




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to include these additional exhibits which are all available to the Defendants, publicly

available, or part of related matters.

                             REQUESTED ADDITIONAL EXHIBITS

       1.     The Plaintiff is unopposed to Defendants’ addition of these exhibits but

reserves the right to object to their admission based on the Federal rules or other

applicable grounds. Some of these additions in Defendants’ second unopposed motion

herein relate to exhibits that the Plaintiff added (Docs. 330 & 332).

       2.     Defendants request the Court grant leave to include the exhibits identified

in this motion and permit the Defendants to include these exhibits with the amended

exhibit list the Plaintiff will be filing on May 16, 2025 (Doc. 332).

       3.     Defendants have and will provide all video exhibits via sharing method and

USB flash drives for trial.

    Ex. No.          Witness                             Description                             Auth
 (Continuing)
                                   Kill Chain: The Cyber War on America’s Elections, (HBO
      247         Lindell
                                   2019).
                                   Jimmy Kimmel Live Interview of Mike Lindell (January
      248         Lindell
                                   2023)
                  Lindell/         Video Compilation officials questioning elections from 2010
      249
                  Coomer           and on via news and public outlets.
                                   LINDELL-011000 – LINDELL-011023 (Ex. 170 to
      250         Lindell
                                   Deposition of Christopher Ruddy)
      251         Lindell          Pl. Ex. 78 to Frankspeech 30b6 depo - Screenshot
                  Montgomery/      Pl. Ex. 174 to Dep. of Dennis Montgomery
      252
                  Lindell
      253         Halderman        Nov. 18, 2020 - DHS Email
      254         Coomer           Ex. 7 to Coomer Dep. (NY Times Article)
                                   Gateway Pundit Articles re: Plaintiff 11.16.2020 &
      255         Coomer
                                   12.27.2020
      256         Coomer           Twitter Posts - Nov & Dec 2020 re Plaintiff
                  Halderman/       CBS News Clip – Aug. 2016
      257
                  Coomer



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                Halderman/      Social Media Posts following 2024 Election
     258
                Coomer
     259        Lindell         My Pillow Tweets (Twitter) from 2020
     260        Lindell         Lindell Tweets re: 2020 Election (sample)




      Respectfully submitted this 13th day of May 2025.

                                               /s/ Christopher I. Kachouroff__
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